Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 1 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 2 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 3 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 4 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 5 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 6 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 7 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 8 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 9 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 10 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 11 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 12 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 13 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 14 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 15 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 16 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 17 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 18 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 19 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 20 of 21
Case 1:15-cv-00233-JB-GJF Document 1 Filed 03/19/15 Page 21 of 21
